          Case 1:18-cv-00745-MLB Document 21 Filed 10/17/18 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


    Ratio Christi of Kennesaw State
    University and Zachary Bohannon,
                                          Case No. 1:18-cv-00745
                          Plaintiffs,
                                          Michael L. Brown
    v.                                    United States District Judge

    Samuel S. Olens, Former
    President of Kennesaw State
    University, in his individual
    capacity, et al.,

                          Defendants.

    ________________________________/

                                    ORDER

         The parties have announced that this case has settled. The Court

DIRECTS the Clerk of Court to ADMINISTRATIVELY CLOSE this

case. The parties shall file a dismissal or other filing disposing of this

case upon finalization of the settlement. If settlement negotiations fail,

the parties shall promptly move to reopen the case.1




1 Administrative closure is a docket-control device used by the Court for
statistical purposes. The parties need only file a motion to reopen the
      Case 1:18-cv-00745-MLB Document 21 Filed 10/17/18 Page 2 of 2




     IT IS SO ORDERED.



Dated: October 17, 2018
Atlanta, Georgia




case if settlement negotiations fail. Administrative closure will not
prejudice the rights of the parties to this litigation in any manner.


                                   2
